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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                         :
    SHARONELL FULTON, et al.,                            :
                                                         :
                      Plaintiffs,                        :             CIVIL ACTION
                                                         :
              v.                                         :             NO. 18-2075
                                                         :
    CITY OF PHILADELPHIA, et al.,                        :
                                                         :
                      Defendants.                        :
                                                         :


                                                     ORDER

         AND NOW, this 1st day of October, 2021, upon consideration of the Parties’ Joint

Motion for Consent Judgment (ECF No. 77), IT IS HEREBY ORDERED AND DECREED

that the Motion is GRANTED, and the terms of judgment detailed below are adopted by the

Court.

         CONSENTED ENTRY OF JUDGMENT AND PERMANENT INJUNCTION

         Plaintiffs Sharonell Fulton, Toni Simms-Busch, Cecelia Paul,1 and Catholic Social

Services (“CSS”) filed this case in 2018, alleging various federal and state constitutional and

statutory violations on the part of Defendants (collectively, “the City” or “Defendants”).

Plaintiffs moved for a temporary restraining order and preliminary injunction on some of those

claims. This Court denied that motion in an opinion reported at 320 F. Supp. 3d 661; the Third

Circuit upheld that decision, reported at 922 F.3d 140. The Supreme Court granted certiorari and

reversed, in a decision reported at 141 S. Ct. 1868. The facts and history of this litigation are

recounted at length in those decisions.



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 Ms. Paul passed away during the pendency of this action. As stated below, the parties agree to the substitution of
her estate.
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         Plaintiffs and Defendants (collectively, the “Parties”), desiring that this action be settled

by appropriate consent judgment and without the burden of protracted litigation, agree to the

jurisdiction of this Court over the parties, and the subject matter of this action. The Parties waive

a hearing and findings of fact and conclusion of law on all issues unaddressed by the United

States Supreme Court’s decision.

         The Parties further agree that this Agreement resolves all issues raised in the Complaint,

and is final and binding on Plaintiffs, the City, and their respective officials, agents, employees,

successors, and all persons acting on their behalf or in active concert and in participation with

them.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED as follows:

                          Supreme Court Decision and Injunctive Relief

         In light of the Supreme Court decision, Plaintiffs have demonstrated success on the

merits of Count IV of their Complaint. Plaintiffs have also shown irreparable injury in relation

to that claim. See Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020).

Finally, injunctive relief is in the public interest and supported by the equities. See Fulton, 141 S.

Ct. at 1882; AT&T Co. v. Winback & Conserve Program, Inc., 42 F.3d 1421, 1427 n.8 (3d Cir.

1994).

                                     Resolution of the Litigation

         Defendants agree that they shall not appeal from any ruling that adopts this Agreement.

Defendants further agree that the relief granted herein is fair and equitable, and they will defend

the terms of this Agreement if it is challenged in court. However, notwithstanding the above,

they reserve the right to seek reconsideration or appeal should the Court not enter the entirety of

the relief agreed to herein.



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        Plaintiffs agree that they shall not appeal from any ruling that adopts this Agreement.

Plaintiffs further agree that the relief granted herein is fair and equitable, and they will defend the

terms of this Agreement if it is challenged in court. However, notwithstanding the above, they

reserve the right to seek reconsideration or appeal should the Court not enter the entirety of the

relief agreed to herein.

        The Parties agree that judgment should be entered in Plaintiffs’ favor on Count IV,

entitled “Violation of the First Amendment to the U.S. Constitution, Free Exercise Clause,

System of Individualized Assessments.” This is a final adjudication on the merits of that claim,

and Plaintiffs are prevailing parties in this litigation. Plaintiffs agree that their remaining claims

shall be dismissed with prejudice pursuant to Federal Rule of Civil Procedure 41(a). If this

Agreement is adopted by the Court in its entirety, which is has been, it shall be construed as a

self-executing notice of voluntary dismissal by Plaintiffs of all remaining claims with prejudice

pursuant to Rule 41(a).

        The Parties agree, in the event this Agreement is appealed or subsequently modified,

Plaintiffs may appeal that action, and, in the event the Agreement is not upheld, may re-assert

any or all of Claims I-III and V-XVI in that circumstance.

        The Parties also agree that as of the date that this Agreement is filed with the Court, they

will begin to perform their respective obligations under this agreement, including entering into

their agreed-upon Professional Services Contract for foster care.

        The Parties agree that the Estate of Cecelia Paul shall be substituted for Cecelia Paul for

all purposes in this litigation.

        The Parties agree that Plaintiffs are the prevailing parties and, therefore, are entitled to

reasonable attorneys’ fees and costs, which they shall address in a separate agreement (“Separate

Agreement”).
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                                  Injunction and Order

   Accordingly, in light of the foregoing and upon the Parties’ consent:

   1.       The City of Philadelphia, the Department of Human Services, the Commission on

Human Relations, their agents and employees, and all those acting in concert with any of

them are PROHIBTED from refusing “to contract with CSS for the provision of foster care

services unless [CSS] agrees to certify same-sex [or unmarried] couples as foster parents.”

See Fulton, 141 S. Ct. at 1882.

   2.       The City of Philadelphia, the Department of Human Services, the Commission on

Human Relations, their agents and employees, and all those acting in concert with any of

them are PROHIBITED from declining to refer children to CSS on the basis that CSS

exercises its religious objection to certifying same-sex or unmarried couples as foster parents.

   3.       Pursuant to the decision of the Supreme Court in Fulton v. Philadelphia— which

set forth an interpretation of the current version of Phila. Code §§9–1106-1107—the City of

Philadelphia, the Department of Human Services, the Commission on Human Relations, its

agents, employees, and those acting in concert with any of them are ORDERED NOT TO

penalize, attempt to enforce, or otherwise take adverse action under Phila. Code §§9–1106-

1107 against CSS, its agents, employees, or those acting in concert with it for CSS’s actions

related to the performance of certifications of prospective foster parents.

   4.       The City of Philadelphia, the Department of Human Services, the Commission on

Human Relations, its agents, employees, and those acting in concert with any of them are

PROHIBITED from declining to place foster children with Plaintiffs Toni Simms-Busch,

Sharonell Fulton, or any other foster parent on the basis that CSS declines to certify same-sex

or unmarried couples as foster parents.

   5.       ORDRED that this permanent injunction shall take effect immediately; and
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   6.       ORDERED that Plaintiffs’ notice of voluntary dismissal with prejudice of Counts

I-III and V-XVI is hereby entered and those claims are DISMISSED;

   7.       ORDERED that this Court shall retain jurisdiction over this action for purposes

of implementing and enforcing the final judgment and any additional orders necessary,

including over any disputes arising from the Separate Agreement; and

   8.       ORDERED that the Clerk of Court shall mark this case CLOSED for statistical

purposes.

IT IS SO ORDERED.

                                                        BY THE COURT:

                                                        /s/ Petrese B. Tucker
                                                        ____________________________
                                                        Hon. Petrese B. Tucker, U.S.D.J.




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